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                  UNITED STATES DISTRICT COURT

                 SOUTHERN DISTRICT OF GEORGIA

                            STATESBORO DIVISION


IRIE WILLIAMS BRINSON                      )
                                           )
v.                                         )       Case No. CV611-049
                                           )                CR609-023
UNITED STATES OF AMERICA                   )

                     REPORT AND RECOMMENDATION

         Irie Williams Brinson 1 has submitted for filing his second 28 U.S.C.

§ 2255 motion attacking the same drugs-based conviction and sentence

that he has previously challenged under § 2255. Doc. 100 at 3 1

(requesting that his plea be “withdrawed” and that he be “re-sentenced as

to the illegal enhancement”); see also doc. 91 (first § 2255 motion

premised upon, inter alia, a sentencing disparity claim); doc. 97

(unappealed judgment denying it on the merits). Since this is a

successive § 2255 motion, he must first “move in the appropriate court of

appeals for an order authorizing the district court to consider the

application.” 28 U.S.C. § 2244(b)(3)(A); see 28 U.S.C. § 2255(h)

(cross-referencing § 2244 certification requirement).

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    Inexplicably, he no longer uses his first name. Doc. 100 at 1.
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      In fact, district courts must dismiss second or successive petitions,

without awaiting any response from the government, absent prior

approval by the court of appeals.    Levert v. United States , 280 F. App’x

936, 936 (11th Cir. 2008) (“Without authorization, the district court lacks

jurisdiction to consider a second or successive petition.”); Mattox v. United

States , 460 F. App’x 828, 829 (11th Cir. 2012) (“When a prisoner has

previously filed a § 2255 motion . . . he must apply for and receive

permission from us before filing a successive § 2255 motion”) (quotes and

cite omitted). Because movant has filed this latest § 2255 motion without

prior Eleventh Circuit approval, this Court is without jurisdiction to

consider it. Consequently, it should be DISMISSED as successive.

      Applying the Certificate of Appealability ("COA") standards set

forth in Brown v. United States , 2009 WL 307872 at * 1-2 (S.D. Ga. Feb.

9, 2009) (unpublished), the Court discerns no COA-worthy issues at this

stage of the litigation, so no COA should issue. 28 U.S.C. § 2253(c)(1);

see Alexander v. Johnson , 211 F.3d 895, 898 (5th Cir. 2000) (approving

sua sponte denial of COA before movant filed a notice of appeal). And, as

there are no non-frivolous issues to raise on appeal, an appeal would not

be taken in good faith. Thus, in forma pauperis status on appeal should

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likewise be DENIED . 28 U.S.C. § 1915(a)(3).

     SO REPORTED AND RECOMMENDED , this 3rd day of

January, 2014.

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                                UNITED STATES MAGISTRATE ILJDGE
                                SOUTHERN DISTRICT OF GEORGIA




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